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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                        )
                                                )
                  v.                            )   Criminal No.: 16-cr-10343-ADB
                                                )
JOSEPH ROWAN,                                   )
                                                )
                        Defendant.              )

    OPPOSITION TO DEFENDANT JOSEPH A. ROWAN’S MOTION TO COMPEL

       The government respectfully opposes Defendant Joseph A. Rowan’s Motion to Compel

Production of Brady Material (Doc. 1085). For the reasons set forth below, Rowan’s motion

should be denied because the government has complied with its ethical and legal discovery

obligations.

       The government has consistently met and exceeded its ethical and legal discovery

obligations in this case. In its Motion for Reconsideration of Court’s Order Granting in Part

Defendant’s Motion for Discovery, the government informed this Court that it has taken a “liberal

approach to seeking and disclosing potentially exculpatory information….” See Doc. 391 at 8.

The government took a liberal view of its duty then and continues to do so now. The government

provided sweeping discovery in this case, including early disclosure of Jencks materials and

voluntary disclosure of agent notes. The government supplemented discovery as needed and has

at all times maintained its ethical and legal obligations. Counsel for Dr. Kapoor, in fact, observed

during one hearing on a discovery motion:

       I will say at the outset I’ve tried cases in this district and other districts. I am entirely
       appreciative of the discovery procedures that this district uses. I think…[the prosecution]
       ought to be commended for turning over as much as it has.

Doc. 369 at 25.
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Jencks and Rule 3500 material was not due until after any witness testified;1 nevertheless, the

government began to produce Ms. Gurrieri’s reports as early as 2017.2 If the government was

aware of any exculpatory or Brady information in any form, it would have disclosed that

information in a report, in agent notes, verbally, via email, or in some other form. Specifically,

Rowan requests:

       Mr. Rowan respectfully requests that the Court order the government to produce the
       substance of any communications with Ms. Gurrieri or her attorneys, or any other
       witnesses and their attorneys related to or concerning Mr. Rowan’s knowledge or
       culpability with respect to the mail or wire fraud predicates or the IRC.

Doc. 1085 at 6.

       There is nothing new or surprising that the Defendant was accused of each of the types of

racketeering activity, including those involving the IRC. Counsel also concedes that he knew that

Ms. Gurrieri had listened to the recording of the National Sales Meeting prior to his cross-

examination of the witness. Counsel crossed the witness and re-crossed the witness on a few very

narrow issues but elected not to ask her about her specific knowledge of Rowan or the National

Sales Meeting. See 03/01 Tr. 34-48 (cross-examination of Gurrieri by Rowan); 108-112 (re-

cross-examination of Gurrieri by Rowan). The government withheld nothing. Notwithstanding




1
  Although an agent report of an interview is that agent’s summary of the interview and is not
necessarily a witness’s own prior statement, the government provided such reports relating to its
trial witnesses.
2
   The government objected to any Order compelling early disclosure of Jencks material but
voluntarily provided early Jencks.
                                                3
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the unnecessary personal jabs lobbed in his motion to compel, counsel had all the information he

was entitled to, and more.3 Thus, there is nothing to compel.

       Brady and its progeny do not create a general right to criminal discovery. See Weatherford

v. Bursey, 429 U.S. 545, 559 (1977) (“There is no general constitutional right to discovery in a

criminal case, and Brady did not create one.”). Rather, Brady obligates the government “to

disclose evidence in its possession that is favorable to the accused and material to guilt or

punishment.” United States v. Prochilo, 629 F.3d 264, 268 (1st Cir. 2011) (Brady request “cannot

consist of mere speculation,” and defendant “should be able to articulate with some specificity

what evidence he hopes to find in the requested materials, why he thinks the materials contain this

evidence, and finally, why this evidence would be both favorable to him and material”). Here,

even if there was information to disclose, which there is not, the Court should also deny the request

because Rowan has only raised speculative claims in support of his motion. Rowan’s belief that

the government suspiciously did not ask certain questions or present its case in a certain fashion is

his own speculation and does not rise to the level of specificity required for the Court to grant his

motion – even if any such information existed (which it does not).




3
  This is not the first time Rowan has erroneously accused the government of withholding
information in this case. For example, on March 19, 2019, Day 37 of trial, counsel said certain
information relating to the testimony of witness Aqsa Nawaz “isn’t disclosed.” 03/19 Tr. at 117.
The government informed the Court and counsel that the information had been disclosed and
directed counsel to the relevant report. To his credit, the following day, during arguments by Dr.
Kapoor regarding the substance of that same information, Rowan’s counsel acknowledged he did
have the information:

               Government: She was interviewed twice. We produced both of them twice --
               Rowan:      I have both interview reports. I don't dispute --
               Government: Thank you, Mr. Kendall.

03/20 Tr. at 33. Contrary to counsel’s arguments now, the government has handled its discovery
and ethical obligations carefully and erred, at all times, on the side of disclosure.
                                                 4
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          Finally, to the extent the Defendant is trying to re-litigate arguments this Court previously

rejected in deciding his Rule 29 and 33 motions (Doc. 861 at 2-4), the government addressed those

claims in its consolidated response to those motions.             See Doc. 936 at 28-30; see also

Memorandum and Order on Defendants’ Motions for Judgment of Acquittal and for a New Trial,

Doc. 1028 at 35-36 (denying motion and observing, in addition to the National Sales Meeting

recording, “the jury could have found that the IRC’s strategies for fraudulently gaining prior

approval were well known among Insys sales representatives who provided opt-in forms to the

IRC.”).

          WHEREFORE, the Court should deny the motion.

                                                        Respectfully submitted,

                                                        ANDREW E. LELLING
                                                        United States Attorney

Date:     January 3, 2020                       By:      /s/ David G. Lazarus
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                                         Certificate of Service

        I hereby certify that the foregoing was filed through the Electronic Case Filing system and
will be sent electronically to the registered participants as identified on the Notice of Electronic
Filing.
                                                       /s/ David G. Lazarus
                                                       DAVID G. LAZARUS
Dated: January 3, 2020                                 Assistant U.S. Attorney



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